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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

LAUREN ADELE OLIVER,
an individual,

         Plaintiff,

vs.                                                            Case No. 1:20-CV-00237-KK-SCY

MEOW WOLF, INC., a Delaware
corporation; VINCE KADLUBEK,
an individual and officer; and
DOES 1-50,

         Defendants.

                 DECLARATION OF BENJAMIN ALLISON IN SUPPORT
                 OF DEFENDANTS’ RESPONSE OPPOSING PLAINTIFF’S
              MOTION FOR LEAVE TO FILE A FIRST AMENDED COMPLAINT

         I, Benjamin Allison, declare:

         1.      I am an attorney licensed to practice law before the United States District Court

      for the District of New Mexico. I am counsel of record for Defendants Meow Wolf, Inc. and

      Vince Kadlubek. I have personal knowledge of the facts contained herein and could testify

      competently if called to do so.

         2.      On October 26, 2020 plaintiff’s counsel Jesse Boyd called and informed me he

      planned to move to amend the complaint.

         3.      On November 13, 2020 Mr. Boyd sent me a letter reiterating his intention to

      amend the complaint.

         4.      As of the date of this Declaration, plaintiff has taken only one deposition since

      initial disclosures were served on July 24, 2020.
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   5.        Plaintiff has recently requested depositions from Sarah Bradly, Dave McPherson,

Benjamin Wright, Golda Blaise, Emily Montoya, Corvas Brinkerhoff, Megan Roniger, Sean

Di Ianni, Vince Kadlubek, Meow Wolf Inc., David Cantor, and Alice Loy.

   6.        I expert that five expert depositions will need to be taken before the close of

discovery.

   7.        Plaintiff Lauren Oliver’s deposition was scheduled for March 18, 2021 but has

been postponed because documents needed for the deposition have not yet been provided.

Defendants are seeking to reschedule the deposition for March 26, 2021.

   I declare under penalty of perjury that the foregoing is true and correct.

   Executed March 15, 2021.

                                              By: /s/ Benjamin Allison________
                                                      Benjamin Allison




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                                CERTIFICATE OF SERVICE

       I, Benjamin Allison, hereby certify that on this 15th day of March, 2021 I caused a true

and correct copy of the foregoing Declaration of Benjamin Allison in Support of Defendants’

Response Opposing Plaintiff’s Motion for Leave to File a First Amended Complaint to be filed

through the Court’s CM/ECF system which caused all parties and counsel entitled to receive

notice to be served electronically as more fully described on the Notice of Electronic Filing.

                                                       BARDACKE ALLISON LLP

                                             By:       /s/ Benjamin Allison
                                                       Benjamin Allison




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